       IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF MISSOURI
                    SOUTHERN DISTRICT

UNITED STATES OF AMERICA, )
           Plaintiff,     )
                          )
          vs.             )                   Criminal Action No.
                          )                   6:20-CR-03041
APRIL DENISE WHITE,       )
          Defendant       )

                         ENTRY OF APPEARANCE

      COMES NOW, Peter G. Bender, Attorney and enters his appearance
on behalf of Defendant April Denise White.

                                         Law Office of Peter G. Bender

                                        /s/ Peter G. Bender
                                        Attorney for Defendant
                                        MO Bar No. 46976
                                        1516 St. Louis Street
                                        Springfield, MO 65802
                                        417-862-2000 phone
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                            Certificate of Service

      I hereby certify that on January 27, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system.

                                        /s/ Peter G. Bender




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